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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                                  Case No. 21-cr-461 (RCL)

 DEVLYN THOMPSON,

      Defendant.

                         UNOPPOSED MOTION TO FILE SUR-REPLY

          The United States, by and through its attorney the United States Attorney for the District

of Columbia, hereby requests the Court to allow the Government to file a sur-reply to respond to

the Defendant’s Reply Brief in support of its Motion for Compassionate Release. Undersigned

counsel has consulted with defense counsel regarding this motion, who does not oppose the relief

requested. Specifically, the government seeks to file a sur-reply of not more than 5 pages, and

requests until April 14, 2023 to file its brief.

                                                           Respectfully Submitted,

                                                            MATTHEW M. GRAVES
                                                            United States Attorney
                                                            D.C. Bar No. 481052


                                                   By:            /s/ Tejpal S. Chawla
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